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    VIA ECF FILING

    The Honorable Lewis J. Liman
    United States District Judge
    Southern District of New York
    500 Pearl Street, Room 701
    New York, NY 10007

                   Re:     Luis Batista v. Palm West Corporation et al.
                           1:19-cv-04455 (LJL)

    Dear Judge Liman:

    We are counsel to all Defendants in the above action. We are receipt of the Court’s Order
    (Dkt. No. 64) requesting that the parties call into the Court on January 14, 2021 at 10:00 a.m. to
    discuss the request for an extension of time to settle the matter.

    I write to respectfully request that an alternative date be selected because I am scheduled to
    participate in a court-mandated mediation at that time concerning a different case.

    Respectfully submitted,



    Nina Massen

    Cc:     Melissa Mendoza, Esq., Plaintiff’s Counsel (by PDF)


The parties are directed to jointly propose alternative dates and times for the conference for a
date in mid-January.

SO ORDERED. 1/11/2021.
